Case: 4:18-cv-00892-PLC Doc. #: 19 Filed: 07/19/18 Page: 1 of 2 PageID #: 94



                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

 DOLEATA JOHNSON, on behalf of herself and )
 all others similarly situated,            )
                                           )
         Plaintiff,                        )
                                           ) Case No. 4:18-cv-00892-CAS
 v.                                        )
                                           )
 MEDICREDIT, INC.,                         )
                                           )
         Defendant.                        )
                                           )

                               NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that the above-referenced matter has been resolved

 between the parties pending the exchange and approval of final settlement papers.

 Plaintiff respectfully requests that the Court retain continuing jurisdiction over this matter

 pending the prompt filing of a Stipulation/Notice of Dismissal herein.


                                                       Respectfully Submitted,
 Dated: July 19, 2018
                                                       PONTELLO & BRESSLER, LLC

                                                           /s/ Dominic M. Pontello___
                                                       DOMINIC M. PONTELLO #60947
                                                       406 Boones Lick Rd.
                                                       St. Charles, Missouri 63301
                                                       (636) 896-4170
                                                       (636) 246-0141 facsimile

                                                       Attorney for Plaintiff
Case: 4:18-cv-00892-PLC Doc. #: 19 Filed: 07/19/18 Page: 2 of 2 PageID #: 95




                             CERTIFICATE OF SERVICE

        I hereby certify that, on this 19nd day of July 2018, the foregoing was filed

 electronically and served upon counsel of record via the Court’s ECF filing system.


                                                        /s/ Dominic M. Pontello
                                                      Dominic M. Pontello




                                              2
